                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:12-00206
                                           )       JUDGE CAMPBELL
BARRY TURNER                               )


                                           ORDER


       Pending before the Court is Defendant Barry Turner’s Motion to Modify Condition of

Pretrial Release (Docket No. 140). Through the Motion, the Government indicates it does not

oppose the Motion. Accordingly, the Motion is GRANTED.

       IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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